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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,               :
                                         :   CRIMINAL CASE NUMBER:
 v.                                      :   1:14-CR-0008-CAP-JSA
                                         :
 CURTIS JONES                            :


                     REPORT AND RECOMMENDATION

      On January 28, 2014, Defendant Curtis Jones filed a Motion to Suppress

“All Evidence” obtained in the case. Motion [27]. Subsequently, at the February

6, 2014, pre-trial conference, the Defendant orally particularized the specific

evidence at issue, that is, the warrantless search of several cellular telephones

seized at the time of Defendant’s arrest. The Court held an evidentiary hearing on

March 31, 2014 [58] [59] [62].

      In the meantime, the Supreme Court accepted certoriari in two cases for the

purpose of determining whether police may conduct a warrantless search of

cellular phones obtained during a search incident to a Defendant’s arrest. The

Court and the parties agreed to delay post-hearing briefing on the Motion to

Dismiss [27] until after these cases were decided.

      On June 25, 2014, the Supreme Court decided the question in Riley v.

California, 573 U.S. __, 124 S.Ct. 2473 (2014). Generally, the Court held that,
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absent exigent circumstances, the warrantless search of an arrestee’s cellular

telephone is not authorized by the search-incident-to-arrest exception to the

warrant rule. Id. Thus, on October 9, 2014, the prosecution filed its post-hearing

brief stating simply:

     Without waiving any legal argument or justification for the search, the
     government has determined it will not be utilizing or relying upon any of
     the information obtained through the search of the four cellular
     telephones seized on the date of the Defendant’s arrest. Accordingly,
     Defendant’s motion is rendered moot.
[78] at 2. Defendant chose not to file a reply brief, thereby indicating no

disagreement with the prosecution’s proposed handling of the Motion.

      Therefore, based on the prosecution’s assurances in its October 9th

memorandum, by which the evidence arguably subject to suppress will not be

utilized in the case, the Court RECOMMENDS that Defendant’s Motion to

Suppress [27] be DENIED as moot.

      IT IS SO RECOMMENDED this 20th day of October, 2014



                                       __________________________________
                                       JUSTIN S. ANAND
                                       UNITED STATES MAGISTRATE JUDGE
